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                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA
                            FORT LAUDERDALE DIVISION

 IN RE:                                                                CASE NO.: 19-10998-JKO
                                                                                  CHAPTER 7
 Jo Ann Harmon,
        Debtor.
 _________________________________/

       SUPPLEMENTAL EXHIBIT REGARDING MOTION FOR RELIEF FROM
                          AUTOMATIC STAY


       Secured Creditor, Nationstar Mortgage LLC d/b/a Mr. Cooper, hereby supplements its

Motion for Relief from Stay (DE # 12) (“Motion”) by filing the Limited Power of Attorney

attached hereto as Exhibit “A”. It is respectfully requested that the Court acknowledge this exhibit

as part of the Motion filed on February 26, 2019 and allow Secured Creditor to proceed with the

prosecution of its Motion to obtain relief as this Honorable Court deems just and appropriate.




                                                 ROBERTSON, ANSCHUTZ & SCHNEID, P.L.
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                                                 By: /s/ Nathalie Rodriguez_
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